
59 So. 3d 1170 (2011)
TOTAL SIGNS &amp; LIGHTING, INC., Appellant,
v.
Gary BARRIOS, Appellee.
No. 3D10-772.
District Court of Appeal of Florida, Third District.
March 9, 2011.
Rehearing Denied April 7, 2011.
*1171 Vernis &amp; Bowling and David W. Grossman, Miami; Hicks, Porter Ebenfeld &amp; Stein, Mark Hicks, Miami, and Erik P. Bartenhagen, for appellant.
Lawrence J. McGuinness; Roberto Villasante, Coral Gables, for appellee.
Before, SHEPHERD and LAGOA, JJ., and SCHWARTZ, Senior Judge.
PER CURIAM.
Because the appellant-defendant-employer was entitled to workers' compensation immunity from common law liability to the appellee-employee for injuries in a construction accident as a matter of law, see sections 440.02(15)(c)(3); 440.11(1), Fla. Stat. (2006), the trial court should have granted the defendant's motion for directed verdict below. The judgment under review in appellee's favor is therefore reversed and the cause remanded with directions to enter one for the appellant.
Reversed and remanded.
